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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA

M.A., by and through his parent
AMBER ARMSTRONG; S.S., by              Civil Action No. 4:22-cv-00134
and through her parents, IVONNE        (AW) (MJF)
SCHULMAN and CARL
SCHULMAN; RABBI AMY
MORRISON and CECILE HOURY;
LOURDES CASARES and
KIMBERLY FEINBERG; ANH                 SECOND AMENDED
VOLMER; SCOTT BERG; and                COMPLAINT
MYNDEE WASHINGTON,
                                       JURY DEMAND
                         Plaintiffs,

                v.

FLORIDA STATE BOARD OF
EDUCATION; THOMAS R.
GRADY, BEN GIBSON,
MONESIA BROWN, ESTHER
BYRD, GRAZIE P. CHRISTIE,
RYAN PETTY, and JOE YORK, in
their official capacities as members
of the Board of Education;
FLORIDA DEPARTMENT OF
EDUCATION; BROWARD
COUNTY SCHOOL BOARD;
SCHOOL BOARD OF MANATEE
COUNTY; SCHOOL BOARD OF
MIAMI-DADE COUNTY;
ORANGE COUNTY SCHOOL
BOARD; and PASCO COUNTY
SCHOOL BOARD,

                         Defendants.
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                                INTRODUCTION

      1.     Plaintiffs bring this action to invalidate and enjoin the enforcement of

Florida House Bill 1557 (2022), which violates the First and Fourteenth

Amendments to the United States Constitution, and Title IX of the Education

Amendments of 1972, 20 U.S.C. §§ 1681-1688 (“Title IX”).

      2.     Since the law went into effect on July 1, 2022, it has caused numerous

concrete harms to Plaintiffs and other students, teachers, and parents in Florida’s

public schools. Faced with H.B. 1557’s vague prohibitions and the threat of

enforcement, schools have removed references to LGBTQ identities in curricula and

shut down student proposals that touch on LGBTQ issues. They have removed

LGBTQ-related books, torn down LGBTQ safe spaces, directed teachers not to

mention their same-sex partners in class, and refused to recognize the LGBTQ

community’s contributions through LGBTQ History Month—despite doing so

before H.B. 1557, and continuing to do so for other protected classes.

      3.     Students have been unable to participate in Gay-Straight Alliances

(“GSAs”) because potential faculty advisors are concerned about violating the law.

Students have been told about rules requiring them to wear clothing that aligns with

their gender assigned at birth and prohibiting dancing between students of the same

sex. And the State has directed everyone to disregard federal regulations prohibiting

discrimination on the basis of sexual orientation or gender identity in schools, while




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simultaneously making it clear that any violation of H.B. 1557 by teachers will result

in suspension or revocation of their licenses.

      4.     As a result of these and other actions—many of which are expressly

based on concerns about complying with H.B. 1557, and others of which are

obviously based on H.B. 1557 under logic and common sense—Plaintiffs and others

in Florida’s public schools have suffered concrete harms. They have been denied

equal educational opportunities they would like to receive, in the curriculum and

beyond, and they have been subjected to a discriminatory educational environment

that treats LGBTQ people and issues as something to be shunned and avoided, on

pain of discipline and liability. This type of overtly discriminatory treatment has no

place in a free democratic society and should not be permitted to stand.

                          JURISDICTION AND VENUE

      5.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1343 because this action arises under the United States Constitution, 42 U.S.C.

§ 1983, and Title IX.

      6.     This Court has personal jurisdiction over Defendants, and venue is

proper in this District pursuant to 28 U.S.C. § 1391(b), because Defendants are

public officials in the State of Florida, they are sued in their official capacities, and

certain Defendants maintain their principal headquarters in this District. Defendants

reside within this District and/or perform official duties within Florida.




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           7.       There is an actual and justiciable controversy between Plaintiffs and

Defendants because H.B. 1557 constitutes an immediate infringement on the

constitutional and statutory rights of Plaintiffs.

                                                     PARTIES1

I.         Plaintiffs

           8.       Plaintiffs are students, parents, and teachers who are being harmed and

will continue to be harmed by H.B. 1557.

           9.       M.A. is a gay, 17-year-old junior at Manatee School for the Arts, a

public charter school in Palmetto, Florida.2

           10.      S.S. is a lesbian, 17-year-old senior at Miami Beach Senior High

School.

           11.      Rabbi Amy Morrison and Dr. Cecile Houry are a committed lesbian

couple in a domestic partnership. They have two children, one in third grade at


1
    Plaintiffs have removed certain parties and allegations in accordance with the Court’s September 29, 2022 Order
            on Defendants’ Motions to Dismiss, EFC No. 120 (“Order”), subject to Plaintiffs’ appellate rights, see, e.g.,
            Reynolds v. Behrman Cap. IV L.P., 988 F.3d 1314, 1319-20 (11th Cir. 2021).
2
    Looking to its plain text and legislative history, H.B. 1557’s applicability to charter schools is unclear—a
          circumstance that itself will have a chilling effect on those schools’ LGBTQ communities. While charter
          schools are generally exempt from the Florida Early Learning-20 Education Code, they must comply with
          “statutes pertaining to student health, safety, and welfare.” Fla. Stat. § 1002.33(16)(a)(5) (2021). H.B. 1557
          purports to relate to students’ “mental, emotional, or physical health or well-being.” It also amends Fla. Stat.
          § 1001.42(8), a section titled “Student welfare” containing provisions relating to “health, safety, and other
          matters relating to the welfare of students.” Fla. Stat. § 1001.42(8)(a). In addition, Governor DeSantis
          conducted the bill signing ceremony at a charter school, and his Press Secretary has stated that the law will
          apply in charter schools. See Danielle J. Brown, Does the so-called ‘Don’t Say Gay’ law apply to Florida
          charter public schools?, FLORIDA POLITICS (Mar. 30, 2022), https://floridapolitics.com/archives/512625-
          does-the-so-called-dont-say-gay-law-apply-to-florida-charter-public-schools/.        Thus, while there are
          reasonable arguments that H.B. 1557 does not apply in charter schools, the State is likely to take the position
          that it does—a threat that is causing the very injuries identified in this Amended Complaint.




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Miami Children’s Museum Charter School, a public school in Miami-Dade County,

and the other in kindergarten at Sunset Elementary School.

         12.   Dr. Lourdes Casares and Dr. Kimberly Feinberg are a lesbian couple

who have been together for over eighteen years. They married in 2016, when same-

sex marriage became legal in Florida. They live together in Miami-Dade County

and have a child who is in K-4 at a public school.

         13.   Anh Volmer is a heterosexual woman who lives with her husband, her

daughter, a first grader, and her son, a third grader. Her children attend public

elementary school in the Orlando area.

         14.   Scott Berg is a long-time elementary school teacher at Flamingo

Elementary School in Broward County. Berg and his husband have been married

for eight years and together as a couple for 12 years. Since becoming a teacher 30

years ago, Berg has taught nearly every grade in elementary school. He currently

teaches elementary school art, and his students range from pre-kindergarten to fifth

grade.

         15.   Myndee Washington is a long-time middle-school civics and drama

teacher at Union Park Charter Academy in Pasco County. She is also a parent of

three children, one of whom identifies as bisexual and attends a public high school

in Pasco County.




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II.    Defendants

       16.   Defendant Florida State Board of Education is the chief implementing

and coordinating body of K-12 public education in Florida. It supervises the State’s

public education system and the head of the Department of Education. FLA. CONST.,

art. IX, § 2; Fla. Stat. § 20.15(1) (2021). The Board of Education has authority to

implement the provisions of law conferring duties upon it for the improvement of

the State system of public education, including to adopt comprehensive educational

objectives, approve plans for cooperation with other public agencies in the

development of rules and enforcement of laws for which it and such agencies are

responsible, enforce systemwide education goals and policies, and adopt and

periodically review and revise the Next Generation Sunshine State Standards, which

are the core content of the curricula to be taught in the state in K-12 public schools.

Fla. Stat. §§ 1001.02-.03, 1003.41 (2021). Under H.B. 1557, the Board of Education

is required to review and approve or reject any recommendation of a special

magistrate as to whether a school district is in compliance with the law, and to adopt

rules necessary to implement the foregoing procedure. Id. § 1001.42(8)(c)(7)(b)(I).

The Board of Education is the recipient of federal financial assistance.

       17.   Defendant Thomas R. Grady is the Chairman of the Board of

Education, and Defendant Ben Gibson is Vice Chairman. Defendants Monesia




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Brown, Esther Byrd, Grazie P. Christie, Ryan Petty, and Joe York are members. All

are sued in their official capacities as members of the Board of Education.

      18.    Defendant Florida Department of Education is the administrative

agency that is responsible for implementing Florida’s education policies and

programs, under the implementation direction of the Board of Education. Fla. Stat.

§§ 20.15, 1001.20 (2021). Under H.B. 1557, the Department of Education is

responsible for reviewing and updating, as necessary, school counseling frameworks

and standards, educator practices and professional conduct principles, and any other

student services, personnel guidelines, standards, or frameworks in accordance with

the requirements of the act. The Department of Education is the recipient of federal

financial assistance.

      19.    Defendant Broward County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The Broward County

School Board operates Flamingo Elementary School, where Plaintiff Berg is

employed as a teacher. Its powers and duties include implementing H.B. 1557. See

id. § 1001.42(8).

      20.    Defendant School Board of Manatee County is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The School Board

of Manatee County operates Manatee School for the Arts, which Plaintiff M.A.




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attends.    Its powers and duties include implementing H.B. 1557.         See id.

§ 1001.42(8).

      21.    Defendant School Board of Miami-Dade County is a district school

board organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The School

Board of Miami-Dade County operates Miami Beach Senior High School, which

S.S. attends; Miami Children’s Museum Charter School and Sunset Elementary

School, which the children of Morrison and Houry attend; and the school attended

by the child of Plaintiffs Casares and Feinberg. Its powers and duties include

implementing H.B. 1557. See id. § 1001.42(8).

      22.    Defendant Orange County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The Orange County

School Board operates the school attended by the children of Plaintiff Volmer. Its

powers and duties include implementing H.B. 1557. See id. § 1001.42(8).

      23.    Defendant Pasco County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The Pasco County

School Board operates Union Park Charter Academy, where Plaintiff Washington is

employed as a teacher, and a public school where her son is a student. Its powers

and duties include implementing H.B. 1557. See id. § 1001.42(8).




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                            STATEMENT OF FACTS

I.    Florida’s commitment and obligation to provide a meaningful education
      for all students and school districts’ efforts to meet it

      24.    The Supreme Court has affirmed the central role of public schools as

“the nurseries of democracy.” Mahanoy Area Sch. Dist. v. B.L. ex rel. Levy, 141 S.

Ct. 2038, 2046 (2021). In keeping with this longstanding commitment to “academic

freedom,” Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967), the First

Amendment protects students’ “right to receive information and ideas,” Bd. of Educ.

v. Pico, 457 U.S. 853, 867 (1982) (quoting Stanley v. Georgia, 394 U.S. 557, 564

(1969)). Moreover, “students do not ‘shed their constitutional rights to freedom of

speech or expression,’ even ‘at the school house gate.’” Mahanoy, 141 S. Ct. at 2044

(quoting Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969)).

      25.    Florida also guarantees that “all K-12 public school students are entitled

to a uniform, safe, secure, efficient, and high quality system of education, one that

allows students the opportunity to obtain a high quality education” that is “made

available without discrimination on the basis of race, ethnicity, national origin,

gender, disability, religion, or marital status.” Fla. Stat. §§ 1002.20(1), (7) (2021).

      26.    In recent years, local school districts have aspired to make Florida’s

promise of a meaningful education real for a historically excluded and disadvantaged

group—LGBTQ students—through non-discriminatory, inclusive curricula and

school environments.



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          27.     For instance, Plaintiff M.A.’s school district in Manatee County has had

a policy requiring “equal opportunity and access in relation to all stakeholders:

students, families, and staff … by valuing, acknowledging, recognizing, and

celebrating everyone in our school system” regardless of “gender, sex, gender

identity, gender expression, [or] sexual orientation.” That policy instructs the School

Board to, among other things, “[s]elect and develop instructional materials that are

historically accurate and represent the experiences of the diverse school

community.”3 Manatee County also has a policy of Non-Discrimination and Access

to Equal Educational Opportunity that prohibits discrimination and harassment on

the basis of sexual orientation, transgender status, and gender identity and requires

that educational programs “be designed to meet the varying needs of all students.”

Specifically, curriculum content must “fairly depict the contribution of” different

groups “toward the development of human society.”4 And finally, Manatee County

previously adopted “LGBTQ+ District Guidelines” “intended to assist faculty, staff,

and students in fostering positive self-image, establishing safe and inclusive schools,

and promoting academic success for students who are, or are perceived to be,

Lesbian, Gay, Bisexual, Transgender, or Questioning (LGBTQ),” which included



3
    School District of Manatee County Policy Manual, po9142 (Oct. 27, 2020),
           https://go.boarddocs.com/fl/mancofl/Board.nsf/goto?open&id=APMMA75599D6#.
4
    School District of Manatee County Policy Manual, po2260 (Apr. 12, 2022),
           https://go.boarddocs.com/fl/mancofl/Board.nsf/goto?open&id=APMMA75599D6#.




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eight “Actions” the district should take to support LGBTQ students in accordance

with the laws in place at the time.5

            28.       The Miami-Dade County Public Schools, where Plaintiff S.S., the

children of Casares and Feinberg, and the children of Morrison and Houry attend

school, has “comprehensive anti-discrimination and anti-bullying policies that

require all students be treated with respect regardless of their unique characteristics,

including sexual orientation or gender identity.” The “Guidelines for Promoting

Safe and Inclusive Schools” have the stated goal of “promot[ing] a positive,

proactive approach that upholds and protects the rights of transgender and gender

nonconforming students; and best practices to ensure that transgender students and

gender nonconforming students have equitable access to all aspects of school life

(academic, extracurricular and social) in ways that preserve and protect their

dignity.”6 These guidelines highlight existing district policies that support LGBTQ

youth, including prohibitions against discrimination, bullying, and harassment, and

include best practices to support and ensure the safety of all students.7




5
    School District of Manatee County, LGBTQ+ District Guidelines,
           https://web.archive.org/web/20211228214657/https://www.manateeschools.net/cms/lib/FL02202357/Centri
           city/Domain/4941/District_LGBTQ_Guidelines.pdf.
6
    Miami-Dade County Public Schools, Guidelines for Promoting Safe and Inclusive Schools, at 2 (last revised July
          2020), https://api.dadeschools.net/WMSFiles/94/pdfs/GUIDELINES-FOR-PROMOTING-SAFE-07-
          2020.pdf.
7
    Id. at 2, 9-11.




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            29.    Similarly, Broward County School District, where Plaintiff Berg

teaches, has sought to “promote safer schools and create more welcoming and

affirming learning environments” for LGBTQ students, those perceived to be

LGBTQ, and their allies.8                  As an example, Broward County requires a non-

discriminatory curriculum that must at least include literature written by LGBTQ

authors, history including LGBTQ public figures, discussions of families including

same-sex parents and relevant topics encompassing the diversity of LGBTQ young

people, and recognition of national LGBTQ events.9 Broward County has also

adopted an anti-bullying policy that prohibits bullying and harassment based on

sexual orientation, gender identity, and gender expression.10

            30.    The Palm Beach County School District has supported LGBTQ youth

by requiring a non-discriminatory curriculum that covers, among other things, the

history and social movements of LGBTQ people, discussions of families that include

same-sex parents/caregivers, and relevant topics encompassing the diversity of




8
    Broward County Public Schools, Lesbian, Gay, Bisexual, Transgender, Questioning + Critical Support Guide, at
          iv (2012), https://stonewall-museum.org/wp-content/uploads/Broward-County-Public-Schools-LGBTQ-
          Critical-Support-Guide-2016-1-3.pdf.
9
    Id. at 4-5.
10
     Id. at 5-6.




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LGBTQ young people. It also has adopted an Anti-Bullying Roundtable and

Strategic Plan, which includes safe environments for all students and staff.11, 12

           31.     Such measures have helped to create a non-discriminatory, inclusive

environment for LGBTQ students that is critical to meeting their educational

needs.13 They have also promoted the safety, equal treatment, and acceptance of

LGBTQ students, who are at risk of harassment, depression, and other negative

educational experiences because of their sexual orientation or gender identity. See

infra Part III.




11
     School District of Palm County, The School District of Palm Beach County LGBTQ+ Critical Support Guide, 6,
           16-17 (2d ed. 2021), https://cdn5-
           ss14.sharpschool.com/UserFiles/Servers/Server_270532/File/Students%20&%20Parents/Curriculum/10.19.
           2022_SDPBC_LGBTQ_CriticalSupportGuide.pdf.
12
     Other counties have adopted similar guidelines. See Alachua County Public Schools, LGBTQ+ Critical Support
           Guide (Dec. 8, 2021),
           https://web.archive.org/web/20211222213631/https:/go.boarddocs.com/fl/alaco/Board.nsf/files/C9HSYJ73
           00DD/$file/LGBTQ+%20Critical%20support%20Guide.pdf; Duval County Public Schools, LGBTQ+
           Support Guide (2020),
           https://s3.documentcloud.org/documents/21988102/dcps_lgbtq_support_guide_2020.pdf; Hillsborough
           County Public Schools, Lesbian, Gay, Bi-Sexual, Transgender, and Questioning/Queer (LBGTQ+) Critical
           Resource and Support Guide for Staff (Aug. 31, 2021), https://www.wfla.com/wp-
           content/uploads/sites/71/2022/02/Hillsborough-Schools-LGBTQ-Critical-Resource-Guide-2021-
           08.31.21.pdf; Pinellas County Schools, Inclusive Schools Support Guide: Promoting Safe and Inclusive
           Schools (May 28, 2020), http://www.pccpta2020.com/wp-content/uploads/2021/09/Inclusive-Schools-
           Support-Guide_FINAL_5.28.20.pdf; Volusia County Schools, Lesbian, Gay, Bi-sexual, Transgender and
           Questioning (LGBTQ) Support Guide (2020), https://beacononlinenews.com/wp-
           content/uploads/2022/03/VCS-LGBTQ-Support-Guide-2020.pdf.
13
     See, e.g., 2018-2019 NEA Resolutions at 219-20, NATIONAL EDUCATION ASSOCIATION OF THE UNITED STATES OF
            AMERICA (2019), https://my.lwv.org/sites/default/files/resolutions_nea_hb_2019.pdf (recommending that
            schools adopt “inclusive educational programs that address the unique needs and concerns” of LGBTQ
            students).




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II.        H.B. 1557 was enacted to undercut these developments, harm LGBTQ
           students, and stifle speech

           32.      H.B. 1557 seeks to undo all of this, and in part, already has. Although

it is formally entitled the “Parental Rights in Education Act,” it is popularly and

more accurately known as Florida’s “Don’t Say Gay” law. H.B. 1557 is avowedly

aimed at eliminating, and already has begun to eliminate, any recognition or

discussion of LGBTQ persons or issues in public schools.

           33.      In relevant part, H.B. 1557 amends Florida Statutes Section 1001.42 to

add new subsection 8(c)(3), which provides:

                    Classroom instruction by school personnel or third parties
                    on sexual orientation or gender identity may not occur in
                    kindergarten through grade 3 or in a manner that is not
                    age-appropriate or developmentally appropriate for
                    students in accordance with state standards.

           34.      The law does not define the subject matter of the speech it seeks to

prohibit. Nowhere does it even attempt to define its operative terms. “Classroom

instruction” is left undefined, as are “sexual orientation” and “gender identity.”14

Nor does the law define the actors whose speech is restricted: “school personnel”

could span from teachers to principals to guidance counselors, while “third parties”

ostensibly reaches anyone outside of the school personnel context, including parents,

other family members, and even students.


14
     Adding to its intended vagueness, the Preamble to H.B. 1557 states that it is a law “prohibiting classroom
          discussion about sexual orientation or gender identity.” (Emphasis added.)




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           35.     The law’s prohibitions expressly apply in grades K-3. But they do not

stop there. H.B. 1557 applies to any grade where “classroom instruction” is “not

age-appropriate or developmentally appropriate in accordance with state standards.”

As with its other core provisions, the law does not define what those “state

standards” are. The law does require the Department of Education to “review and

update … school counseling frameworks and standards; educator practices and

professional conduct principles; and any other student services personnel guidelines,

standards, or frameworks,” but even that need not occur until June 30, 2023—a year

after the law went into effect.

           36.     During an April 2022 interview, Governor Ronald DeSantis made clear

that he intends for the prohibition to extend to all grade levels.

           Q. “You did the bill about K, or pre-K through 3. Why’d you stop at
           3? That’s my question.”
           A. “Well it does and it says anything above that has got to be
           developmentally and age-appropriate, so the Florida Department of
           Education will be putting some meat on the bones on that…”
           Q. “Would you be potentially looking at limitations at older kids?”
           A. Well here’s the thing. Things like woke gender ideology have no
           place in the schools period. I mean if you want woke gender ideology
           then go to Oberlin or Berkeley or something like that, but it’s just not
           appropriate….”15 (emphasis added).




15
     Fox News, “DeSantis: Education not indoctrination,” YOUTUBE (Apr. 29, 2022), 6:06-40,
          https://www.youtube.com/watch?v=12IVeeq2ydk.




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      37.    In the meantime, any parent with a “concern” about a violation of H.B.

1557 may sue their school district for court costs and attorneys’ fees, subject only to

the requirement to give 30 days’ notice. Notably, H.B. 1557 places no limit on when

parents can sue school districts, and legislators rejected an amendment that would

allow districts to recover costs and fees if they prevail. This means that parents will

be able to file suit long before the Department of Education may provide any

guidance as to the meaning of certain aspects of the law, with little repercussion.

      38.    The intended impact of this law is apparent. It seeks to undo the equal

inclusion of LGBTQ people and issues in Florida’s schools and to impede policies

requiring equal treatment and support of LGBTQ students. Presented with vague

prohibitions under the threat of litigation, schools and educators have been and will

be chilled from discussing or even referencing LGBTQ people, and LGBTQ students

have been and will be stigmatized, ostracized, and denied the educational

opportunities that their non-LGBTQ peers receive.

      39.    That is precisely what the Florida lawmakers who supported and passed

this law intended. Indeed, legislators and Governor DeSantis have been crystal-clear

about their goal of eliminating any discussion about LGBTQ identities and issues

from public schools. Just as legislators’ statements evidenced DOMA’s aim to

“interfere[] with the equal dignity of same-sex marriages,” United States v. Windsor,

570 U.S. 744, 771-72 (2013), the statements here reflect disapproval of LGBTQ



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students, parents, and teachers and an open desire to prevent any mention of LGBTQ

people.

           40.     For example, the sponsor of H.B. 1557 in the Senate, Senator Dennis

Baxley, openly admitted that the law is intended to prohibit discussions about sexual

orientation and gender identity of LGBTQ students. He warned that “everybody

now is all about coming out when you’re in school” and there is a “concern” about

“kids trying on different kinds of things they hear about and different kinds of

identities and experimenting.”                Senator Baxley added that “parents are very

concerned about the departure from the core belief systems and values.” He also

claimed that “75% of people … agree with me that there’s something wrong with

how we’re emphasizing this and all of a sudden overnight [students] are a celebrity

when they felt like they were nobody.” These statements reveal an overt intention

to single out LGBTQ people and their families for negative treatment, to discourage

LGBTQ students from disclosing their identities, to censor any positive mention of

LGBTQ people, and to prevent schools from supporting LGBTQ people on an equal

basis with others.16

           41.     In other statements, Senator Baxley confirmed that the purpose of the

law is to discourage students from coming out as LGBTQ. When Senator Baxley



16
     Fla. S., recording of proceedings, at 08:09:30-08:12:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true.




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was asked if the reason for H.B. 1557 is that “there seems to be a big uptick in the

number of children who are coming out as gay or experimenting and therefore we

need to not discuss it in the younger grades,” he responded: “[W]e know there are

social inputs into how people act and what they decide to do so, yeah, that’s part of

our concern for the well-being of our children.”17 As another senator observed,

Senator Baxley’s comments reflect “invidious discrimination for what we have

targeted and we have selected as a protected class.”18

           42.       In other contexts, Senator Baxley has explained that H.B. 1557 is

designed to prevent discussion of LGBTQ families. At a Senate hearing on February

8, 2022, Republican Senator Travis Hutson gave the example of a math problem in

which “Sally has two moms or Johnny has two dads.” Senator Baxley said that is

“exactly” what the law aims to prevent.19

           43.       H.B. 1557’s sponsor in the House, Republican Joe Harding, has also

been forthcoming about the law’s discriminatory focus on LGBTQ students and

issues. During legislative debate, Representative Harding justified the law on the



17
     Fla. S., recording of proceedings, at 08:12:00-08:13:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true.
18
     Kelly Hayes, ‘Gay is not a permanent thing’: Legislature passes bill to restrict LGBTQ topics in elementary schools,
           FLORIDA POLITICS (Mar. 9, 2022), https://floridapolitics.com/archives/505744-gay-is-not-a-permanent-
           thing-legislature-sends-controversial-parental-rights-bill-to-governor/. Consistent with his discriminatory
           aim behind H.B. 1557, in 2018 Senator Baxley told his constituents: “I know some districts where there’s a
           big infestation of homosexuals that are pushing their agenda….”
19
     Madeleine Carlisle, Florida Just Passed the “Don’t Say Gay” Bill. Here’s What It Means for Kids, TIME (Mar. 8,
          2022), https://time.com/6155905/florida-dont-say-gay-passed/.




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basis that talking about sexual orientation and gender identity could result in students

“hav[ing] one identity in school and one at home because the school encourages that

kind of behavior.”20 Similarly, in an interview on October 15, 2022, Representative

Harding explained that his concern was with schools talking with “child[ren] about

their pronouns, or whatever new thing that we’ve created,” and with “14-year-old

children … being all these different types of genders.” In the same interview,

Representative Harding more broadly criticized efforts by Disney (and others) to

make “LGBTQ person[s] … ‘mainstream,’” a notion he called “just really out of

line … with what the majority of Americans believe in and see.”21

           44.      Other supporting legislators have been equally candid that H.B. 1557 is

focused on LGBTQ people and is intended to bar discussions of LGBTQ people and

issues—not of heterosexual and non-transgender people’s sexual orientation or

gender identity.22

           45.      For instance, in voicing support for H.B. 1557, Representative Juan

Alfonso Fernandez-Barquin claimed: “We have children as young as six years old




20
     Kirby Wilson, Republicans made changes to ‘don’t say gay’ bill. LGBTQ advocates aren’t buying it, TAMPA BAY
           TIMES (Feb. 18, 2022), https://www.tampabay.com/news/florida-politics/2022/02/17/republicans-made-
           changes-to-dont-say-gay-bill-lgbtq-advocates-arent-buying-it/.
21
     The Epoch Times, Epoch TV, https://www.theepochtimes.com/from-gender-theory-guides-to-transition-
           questionnaires-florida-state-rep-joe-harding-on-the-fight-for-parental-rights-in-education_4795734.html.
22
     Fla. S., recording of proceedings, at 08:11:30-08:12:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true.




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being taught the radical leftist gender theory and that is frightening.”23 Senator

Ileana Garcia also suggested that discussions of sexual orientation should be

prohibited because “‘gay’ is not a permanent thing. LGBT is not a permanent

thing.”24

           46.      The premise of H.B. 1557 is that if schools and educators prevent any

recognition or discussion of LGBTQ people or issues, then LGBTQ students will be

deterred from disclosing their identities and will instead be—or try to be—

heterosexual or non-transgender.

           47.      Governor DeSantis also made clear that H.B. 1557’s limitation on

“sexual instruction” does not apply to instruction on heterosexuality and cisgender

identities, asserting that parents do not “want their kids to have transgenderism or

something injected into classroom instruction.”25

           48.      Governor DeSantis’s press secretary, Christina Pushaw, confirmed this

understanding. She called H.B. 1557 an “Anti-Grooming Bill” and said that “[i]f

you’re against the Anti-Grooming Bill, you are probably a groomer or at least you




23
     Kelly Hayes, ‘We are in distress’: House passes LGBTQ instruction bill despite pleas from Democrats, FLORIDA
           POLITICS (Feb. 24, 2022), https://floridapolitics.com/archives/500337-we-are-in-distress-house-passes-
           lgbtq-instruction-bill-despite-pleas-from-democrats/.
24
     Kelly Hayes, ‘Gay is not a permanent thing’: Legislature passes bill to restrict LGBTQ topics in elementary
           schools, FLORIDA POLITICS (Mar. 9, 2022), https://floridapolitics.com/archives/505744-gay-is-not-a-
           permanent-thing-legislature-sends-controversial-parental-rights-bill-to-governor/.
25
     Florida Governor DeSantis defends controversial ‘Don’t Say Gay’ bill, CBS NEWS (Mar. 5, 2022),
           https://www.cbsnews.com/news/florida-governor-desantis-defends-dont-say-gay-bill/.




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don’t denounce the grooming of 4-8 year old children.”26 She has also stated that

“[a]ny adult who wants to discuss sexual and gender identity topics with other

people’s 5- to 8-year-old children—while keeping this a secret from their parents—

is either a groomer or is complicit in promoting an environment where grooming

becomes normalized.”27 Pushaw’s statements imply that even discussing LGBTQ

issues or acknowledging LGBTQ people’s existence will cause students to

“become” LGBTQ. They also imply that teachers and other school staff who create

an environment in which LGBTQ students and issues are treated openly and equally

are akin to adults who “groom” minors to subject them to sexual abuse. The

dangerous, false, and discriminatory implication is that, in contrast to heterosexual

and non-transgender identities, LGBTQ identities are inherently sexualized, and the

mere presence of LGBTQ people or open discussion of LGBTQ issues in schools is

therefore akin to improperly sexualizing children.28

           49.      Pushaw’s statements were echoed by other supporters of H.B. 1557,

who also readily acknowledged the law’s focus on LGBTQ people and issues. For



26
     Christina Pushaw (@ChristinaPushaw), TWITTER (Mar. 4, 2022, 6:33 PM),
            https://twitter.com/ChristinaPushaw/status/1499890719691051008.
27
     Christina Pushaw (@ChristinaPushaw), TWITTER (Apr. 5, 2022, 9:12 AM),
          https://twitter.com/ChristinaPushaw/status/1511331024541782020.
28
     See Monica Hesse, Fans of Florida’s ‘Don’t Say Gay’ bill have a new favorite word: ‘Grooming,’ WASH. POST
          (Mar. 12, 2022), https://www.washingtonpost.com/lifestyle/2022/03/12/florida-dont-say-gay-bill/. In fact,
          there is a very real risk that the law will adversely impact the detection and prevention of child abuse insofar
          as instances of sexual abuse and related behaviors are often reported to, or by, teachers and other school
          personnel. Measures that limit open lines of communication between students and teachers tend to result in
          students being afraid or ashamed to speak up about potentially problematic conduct or behavior.




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instance, the Florida Family Policy Council, a group that lists as a core issue “LGBT

Agenda & Transgenderism,” has called H.B. 1557 the “‘Don’t turn my son into a

daughter’ bill.”29

           50.      On March 10, shortly before he signed it into law, Governor DeSantis

again stated that “[i]n the state of Florida, we are not going to allow them to inject

transgenderism into kindergarten.” He added, “[w]e don’t want transgenderism in

kindergarten and first grade classrooms.”30 And after the bill was passed, Governor

DeSantis expressed his intention to “go on offense” against “[i]njecting transgender

ideology in[to] kindergarten classrooms.”31

           51.      Governor DeSantis has not expressed concerns about students

identifying as cisgender (or heterosexual) at any age.

           52.      The premise behind the statements of those who drafted, supported, and

enacted the law is clear: discussions about LGBTQ people are wrong and must be

prohibited because the mere recognition of LGBTQ existence will make otherwise

heterosexual and cisgender children more likely to be gay and transgender. It is also

a direct statement to LGBTQ children that you are not normal and if you can’t


29
     Florida Family Policy Council, About FFPC, https://www.flfamily.org/about-ffpc (last visited May 23, 2022);
            Florida Family Policy Council, Legislative Session Week 7 of 9 – February 25, 2022 (Feb. 25, 2022),
            https://www.flfamily.org/uncategorized/week-7-of-9-insiders-report-legislative-session.
30
     DeSantis slams ‘woke’ Disney after CEO condemns parents’ rights bill, FOX NEWS (Mar. 11, 2022),
          https://video.foxnews.com/v/6300358476001#sp=show-clips.
31
     Christina Pushaw (@ChristinaPushaw), TWITTER (Apr. 22, 2022, 9:11 PM),
            https://twitter.com/ChristinaPushaw/status/1517672480571330566?s=20&t=pNnN0_XA5DfCsSbanAtxM
            A.




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change, you should hide your identity. H.B. 1557 is not even a dog whistle; it is an

open declaration of discrimination against LGBTQ children and children with

LGBTQ parents. A law whose purpose is to prevent people from being LGBTQ is

not only ridiculous, unscientific, and at odds with reality; it is also offensive and

unconstitutional.            See Obergefell v. Hodges, 576 U.S. 644,                             661 (2015)

(“[P]sychiatrists and others [have] recognized that sexual orientation is both a

normal expression of human sexuality and immutable.”).

           53.     Other than statements focusing on LGBTQ students and why the law is

needed to prevent students from identifying as LGBTQ or hearing about LGBTQ

identities and issues, the legislative record is remarkably sparse with respect to any

particular examples of “classroom instruction” that H.B. 1557 was somehow meant

to “fix.” Instead, proponents relied upon vague and generalized assertions about

problems the law is intended to address. For instance, when asked for “specific

examples” of why H.B. 1557 was needed in response to “lesson plans,” Senator

Baxley, the bill’s sponsor in the Senate, suggested that others “visit some of the

websites.”32




32
     Fla. S. Comm. on Appropriations, recording of proceedings, at 46:00-47:00 (Feb. 28, 2022 at 10:00 AM)
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_3xdlmr8t-202202281030&Redirect=true.




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           54.      The intentional vagueness and discriminatory purpose of H.B. 1557 is

further shown by the repeated refusal of lawmakers to adopt language that might

mitigate the law’s widely recognized discriminatory and chilling effects.

           55.      Representative Carlos Smith introduced Amendment No. 703365 to

replace “sexual orientation or gender identity” with “sexual activity.”                                      That

amendment failed.33

           56.      Senator Jeff Brandes (a Republican) similarly proposed several

amendments to replace “sexual orientation or gender identity” with “human

sexuality or sexual activity.” He stated: “If the intent [of this bill] is not to

marginalize anyone, let’s make sure we aren’t.” But his amendments failed. Senator

Baxley commented that Senator Brandes’s amendments would “significantly gut”

the law’s intent—once again confirming that his goal was to marginalize LGBTQ

people.34

           57.      Senator Lauren Book proposed Amendment No. 755282 to clarify that

“‘classroom instruction’ does not include instruction or discussion relating to”

“family structures,” “objective historical events,” “bullying prevention,”




33
     Fla. H.R, recording of proceedings, at 03:43:30-03:47:30 (Feb. 22, 2022 at 1:00 PM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_1az3it1i-202202221300&Redirect=true.
34
     Fla. S. Comm. on Appropriations, recording of proceedings, at 01:04:00-01:07:00 (Feb. 28, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_3xdlmr8t-202202281030&Redirect=true.




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“discussions between students,” and “questions asked by students and any answer.”

That amendment failed.35

           58.     Senator Randolph Bracy and Representative Marie Paule Woodson

proposed Amendments Nos. 734244 and 600607, respectively, to clarify that the law

“does not apply to any discussion between a student who identifies as transgender,

gender nonconforming, non-binary, or otherwise LGBTQ+ and their peers.” Those

amendments failed.36

           59.     Senator Tina Polsky proposed Amendment No. 290096 to clarify that

“sexual orientation” “means an individual’s heterosexuality, homosexuality, or

bisexuality,” and “gender identity” means “gender-related identity, appearance, or

behavior, regardless of whether such … is different from that traditionally associated

with an individual’s physiology or assigned sex at birth.” That amendment failed.37

           60.     Senator Gary Farmer proposed Amendment No. 175814 to amend a

different provision of the Florida Education Code that requires health education to




35
     Fla. S., recording of proceedings, at 05:23:30-05:33:30 (March 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true.
36
     Fla. S., recording of proceedings, at 05:33:30-05:37:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true; Fla.
            H.R, recording of proceedings, at 03:47:30-03:54:00 (Feb. 22, 2022 at 1:00 PM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_1az3it1i-202202221300&Redirect=true.
37
     Fla. S., recording of proceedings, at 04:50:30-04:55:00 (March 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true.




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“teach[] the benefits of monogamous heterosexual marriage,” by striking the word

“heterosexual.” Fla. Stat. § 1003.46(2)(a) (2021). That amendment failed.38

           61.      Representative Fentrice Driskell introduced Amendment No. 194533 to

require a court to “award reasonable attorney fees and court costs” to prevailing

school districts. That amendment failed.39

           62.      The fact that these amendments failed further demonstrates the law’s

plain intent. H.B. 1557 is not about prohibiting “classroom instruction” on any

“sexual orientation” or “gender identity,” including those of heterosexual and non-

transgender people, but only about the sexual orientation and gender identity of

LGBTQ people. Nor is it about ensuring that instruction is “age-appropriate or

developmentally appropriate.” Florida law already requires that health education,

including instruction on “human sexuality,” “[p]rovide instruction and material that

is appropriate for the grade and age of the student.” Fla. Stat. § 1003.46(2)(d)

(2021).40         Moreover, as the failed amendments make clear, the Legislature is

perfectly capable of providing greater specificity when it wants to do so.




38
     Fla. S., recording of proceedings, at 04:29:00-04:33:30 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_4gaky6b9-202203071000&Redirect=true.
39
     Fla. H.R, recording of proceedings, at 04:23:00-04:28:30 (Feb. 22, 2022 at 1:00 PM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_6ybmwtgu-202202021430&Redirect=true.
40
     This same provision, as noted, requires that instruction on human sexuality “[t]each the benefits of monogamous
            heterosexual marriage,” Fla. Stat. § 1003.46(2)(a) (2021), and in passing H.B. 1557 lawmakers refused to
            strike “heterosexual” from this text.




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            63.       The Legislature’s ability to be clear when it wishes to do so is

confirmed by another recent enactment (albeit one that suffers from distinct

infirmities): the “Stop WOKE Act.”41 There, in seeking to prohibit “instruction” in

public schools on critical race theory, the Legislature listed eight specific

“concepts,” such as that “[a] person, by virtue of his or her race, color, national

origin, or sex is inherently racist, sexist, or oppressive, whether consciously or

unconsciously.”42 Thus, when the Legislature undertakes to declare, with some level

of specificity, what it doesn’t want taught in schools, it obviously knows how to do

so. But here—in sharp contrast—the Legislature refused to provide any specifics

about what “classroom instruction on sexual orientation or gender identity” means.

Instead, it chose to enact a highly vague provision that invites arbitrary and

discriminatory enforcement against LGBTQ people—exactly as the Legislature

intended.

            64.       The discriminatory purpose of H.B. 1557 is further apparent from a

persistent pattern of efforts by the current Legislature and Governor to use the

legislative process to ostracize and harm LGBTQ people.

            65.       In December 2021, Governor DeSantis’s administration took down a

Department of Education web page that provided anti-bullying resources to help



41
     H.B. 7 (2022).
42
     Id. § 2.




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promote safe school environments and address high rates of suicide after a right-

wing online publication, the Florida Capital Star, raised questions with the

Department about the inclusion of links to resources for LGBTQ young people.43

That page was restored after the LGBTQ-related references were removed.

           66.     Last year, Governor DeSantis line-item vetoed all LGBTQ-related

funding from the budget, including money earmarked for mental health

programming to support survivors of the Pulse night club massacre, to house

homeless LGBTQ children, and for Orlando’s LGBTQ community center.44

           67.     H.B. 1557 is merely the latest in a sequence of discriminatory laws and

policies.

           68.     And H.B. 1557 itself reflects a longer history in which opponents of

LGBTQ rights have used narratives of “depravity” and “grooming” to stigmatize

LGBTQ people and try to justify altering the school environment in ways meant to

discriminate against LGBTQ people.45

           69.     During a press conference on March 28, 2022, Governor DeSantis

propagated these discriminatory narratives, stating falsely that critics of H.B. 1557




43
     Brody Levesque, Florida’s DeSantis attacks LGBTQ youth by removing website resource, LOS ANGELES BLADE
           (Dec. 6, 2021), https://www.losangelesblade.com/2021/12/06/floridas-desantis-attacks-lgbtq-youth-by-
           removing-website-resource/.
44
     Office of Governor Ron DeSantis, 2021 Veto List (2021),
            https://www.flgov.com/wp-content/uploads/2021/06/2021-Veto-List-Final.pdf.
45
     See, e.g., Clifford Rosky, Anti-Gay Curriculum Laws, 117 COLUM. L. REV. 1461 (2017).




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“support sexualizing kids in kindergarten” and “enabling schools to, quote, transition

students to a, quote, different gender without the knowledge of the parent.”46

IV.        H.B. 1557 has harmed, and inevitably will continue to harm, Plaintiffs
           and other LGBTQ members of Florida’s public schools

           70.      Since H.B. 1557 became effective on July 1, 2022, it has caused

numerous concrete harms to Plaintiffs and other LGBTQ students, parents, and

teachers—as well as others in Florida schools who want the educational

environment, including curriculum, to be inclusive of the LGBTQ community.

           71.      For example, Plaintiff S.S. and the children of Plaintiffs Morrison,

Houry, Casares, and Feinberg, all of whom attend school in Miami-Dade County,

have been directly harmed by H.B. 1557. Last year, the Miami-Dade School Board

overwhelmingly voted for Item H-11 to recognize and observe October as LGBTQ

History Month throughout the school system “as an effective means of educating

and calling to action our community to work together by fighting prejudice and

discrimination in their own lives and increasing visibility and raising awareness.”

As the board noted, “[t]eaching LGBTQ history fosters a welcoming school climate

where LGBTQ students, families, and educators can live their authentic lives and be




46
     Ryan Dailey, DeSantis signs bill on how schools handle sexual orientation, gender identity, PALM COAST
          OBSERVER (Mar. 28, 2022), https://www.palmcoastobserver.com/article/desantis-signs-bill-on-how-
          schools-handle-sexual-orientation-gender-identity.




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treated with dignity and respect.”47 That item passed 7-1. A briefing was then issued

to activities directors and club sponsors, but not classroom teachers, providing

various LGBTQ resources that could be used, voluntarily, but not in the classroom.48

           72.      This year, a resolution was similarly proposed to recognize October as

LGBTQ History Month. It also would “provid[e] information and resources for

teachers who teach 12th grade social studies the opportunity to teach important

landmark civil rights cases, including the Supreme Court cases of Obergefell v.

Hodges (2015) and Bostock v. Clayton County (2020)” as part of the broader,

existing curriculum on “important Supreme Court Landmark cases that have shaped

our country’s civil rights history.”49

           73.      But this year, as a direct result of H.B. 1557, that measure was rejected,

8-1. At least four members specifically referenced H.B. 1557 as the basis for their

decision to vote against the item. Member Christi Fraga said it was “in direct

violation of our parental rights bill.”50 Member Mari Tere Rojas likewise said H-11


47
     Board Meeting of Oct. 20, 2021, Revised H-11, “The School Board of Miami-Dade County, Florida, recognize
           and observe October 2021 as Lesbian, Gay, Bisexual, Transgender, and Queer (LGBTQ) History Month,”
           https://pdfs.dadeschools.net/Bdarch/2021/bd102021/agenda/h11rev2.pdf.
48
     Facebook, Miami-Dade County Public Schools, “Regular Board Meeting – 09/07/22” (hereinafter, “Miami-Dade
           Board Sept. 2022 Meeting”), at 6:15:45,
           https://www.facebook.com/miamischools/videos/3344757705755927/ (statement of Member Baez-Geller).
49
     Board Meeting of Sept. 7, 2022, Revised H-11, “That the School Board of Miami-Dade County, Florida,
           recognize and observe October 2022 as Lesbian, Gay, Bisexual, Transgender, and Queer (LGBTQ) History
           Month, and direct the Superintendent to explore the feasibility of proving information and resources about
           landmark Supreme Court cases, including Obergefell v. Hodges (2015) and Bostock v. Clayton County
           (2020), for 12th grade Social Studies classes,”
           https://pdfs.dadeschools.net/Bdarch/2022/bd090722/agenda/h11rev.pdf (emphasis added).
50
     Miami-Dade Board Sept. 2022 Meeting at 6:12:30.




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“does not comply with … H.B. 1557.”51 Member Lubby Navarro stated: “We have

a new law called the Parents Bill of Rights and I am following the law.”52 Member

Dr. Steve Gallon III said he was “concerned that the item as it’s presented does not

fully comport with the law, specifically the Parental Bill of Rights.”53 Three others

alluded to concerns about what was being taught in classrooms and compliance with

the law more broadly, which can reasonably be inferred to be based on H.B. 1557,54

especially because throughout the day-long hearing, many audience participants

made clear their view that Item H-11 would violate H.B. 1557.

            74.        Because of H.B. 1557 and the resulting rejection of Item H-11, Plaintiff

S.S. will be denied educational resources that she (and other LGBTQ students) very

much wish to have available to them. Moreover, as a senior, she has been denied

curricular content that she wants to have available to her, including the opportunity

to learn about and discuss the Supreme Court’s landmark LGBTQ precedents. These

developments are consistent with S.S.’s reasonable fears, prior to H.B. 1557

becoming effective, that the law would eliminate LGBTQ-related lessons and


51
     Id. at 6:26:45.
52
     Id. at 6:48:45.
53
     Id. at 7:14:14.
54
     Id. at 7:24:20 (Statement of Member Dorothy Bendross Mindingall) (“Our parents must know exactly what we are
             putting in these classrooms.”); id. at 7:33:17 (Statement of Perla Tabares Hantman) (“The item in front of
             us concerns changes to instruction…. My concern is that it changes, … if not curriculum, it changes the
             way instruction is taught.”); id. at 7:40:40 (Statement of Member Luisa Santos) (voting against bill without
             amendment, proposed by Member Baez-Geller, that would have provided resolution must be “in adherence
             with the Parental Rights in Education bill,” because “currently as the item reads” it was not “in alignment
             with the laws that we have respected in all our previous items”).




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discussions, and that her once welcoming school environment will now be less

welcoming to LGBTQ students—including by discriminatorily silencing any

mention of LGBTQ people and issues—and her ability to obtain an equal education

will suffer. Upon information and belief, Plaintiff S.S. and the children of Plaintiffs

Morrison, Houry, Casares, and Feinberg would take advantage of LGBTQ resources

that are not being provided to students as a result of H.B. 1557’s vague proscription

and the rejection of Item H-11.

      75.    Likewise, the children of Plaintiffs Morrison, Houry, Casares, and

Feinberg will be denied equal educational resources that their parents want to be

made available to them in order to foster an equal, accepting, and non-discriminatory

environment and to ensure safety.

      76.    After H.B. 1557 went into effect, a friend of S.S., a senior at Miami

Beach Senior High School, wanted to create a website dedicated to LGBTQ

resources as their community service project, which is a required part of the

International Baccalaureate (“IB”) curriculum. When they proposed this to the IB

coordinator, they were told they shouldn’t do so because it might violate H.B. 1557.

As a result, S.S.’s friend did not pursue the project they wanted to pursue and was

denied educational opportunities they want to receive. In addition to harming S.S.’s

friend, this act of discrimination caused S.S. harm by demonstrating that, because of

H.B. 1557, LGBTQ students are no longer equal to others and do not have the same



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freedom as other students to pursue academic projects that relate to LGBTQ people

or issues. Beyond losing out on the benefit of learning from her friend’s project,

S.S. has been placed into an officially disfavored group of students who are treated

differently than others with respect to the academic projects they can pursue.

      77.    Plaintiff M.A. started a Gay-Straight Alliance (“GSA”) in eighth grade

because he knew how important his family’s support had been for him and he

couldn’t imagine what it was like for others who lacked that support. Today, M.A.

is the president of his school’s GSA, which typically has between 15 and 30

members and creates a welcoming space for other LGBTQ students and their allies.

      78.    However, since H.B. 1557 went into effect, no teacher will serve as an

advisor to the club due to fears of violating the law. As a result, M.A. and other

interested students have been barred from participating in a GSA, even though other

student clubs have otherwise begun to meet in September. M.A. and others have

thus been denied equal educational opportunities, causing them to lose the ability to

participate in an activity they previously enjoyed and benefitted from and very much

want to receive, and which other students who wish to form clubs that do not relate

to LGBTQ people or issues are free to enjoy. In other words, because it is unclear

whether H.B. 1557’s ban extends to teacher participation in GSAs, M.A. and others

have been denied the opportunity to participate in a GSA as they would like to do.




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            79.    In addition, M.A. has been told by a student in middle school that there

is a policy that would require transgender or non-binary sixth grade students to wear

clothing consistent with their gender assigned at birth and would prohibit dancing

between persons of the same gender. Despite inquiries to school personnel, he has

not received a definitive response as to whether either such policy exists. As a result

of such policies, LGBTQ students will be denied educational opportunities and

treated disparately from other students. Thus, because it is unclear whether H.B.

1557 prohibits students from wearing clothing or engaging in conduct that is

perceived to be LGBTQ in nature, LGBTQ students in Manatee County are being

prohibited from engaging in speech and conduct at school that they would otherwise

like to engage in.

            80.    In Orange County, where Plaintiff Volmer’s children attend school,

teachers have been instructed not to talk about same-sex partners because “it could

be deemed classroom instruction on sexual orientation or gender identity,” according

to district spokesman Michael Ollendorff.55 Teachers in K-3 classrooms were also

cautioned against wearing clothing that could bring up similar discussions.56 As a

result, Volmer’s children are being denied an equal educational opportunity,



55
     See Lori Rozsa, Florida Teachers Race to Remake Lessons As DeSantis Laws Take Effect, WASH. POST (July 30,
           2022), https://www.washingtonpost.com/education/2022/07/30/florida-schools-desantis-woke-
           indoctrination/?utm_medium=social&utm_source=twitter&utm_campaign=wp_main.
56
     Id.




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including an opportunity to see LGBTQ teachers as equal citizens and role models,

that she wants to be made available to them, in order to foster a non-discriminatory

environment for all families and persons. Thus, again, because it is unclear whether

H.B. 1557 precludes teachers from talking about their same-sex partners (or

transgender identity) in class or even wearing clothing that could prompt discussions

related to LGBTQ persons and issues, Volmer’s child (and others at her school) are

being denied the opportunity to hear about such issues and identities, as they would

like to do.

           81.      On September 1, 2022, Pasco County, where Plaintiff Washington is a

teacher and her son is a high school student, directed employees to remove safe space

stickers from all schools and eliminated the existence of such spaces, citing the need

to comply with H.B. 1557. 57 Schools have long used safe spaces to create a non-

discriminatory environment for LGBTQ students, allowing them to feel included,

secure, and welcome in sometimes hostile school environments. Safe space stickers

signal to students that anti-LGBTQ language and harassment will not be tolerated

and that LGBTQ students will be treated equally.58 As a result, Washington and her



57
     Casey Albritton, Pasco County Schools eliminates "Safe Space" stickers, CBS NEWS (Sept. 14, 2022),
           https://www.cbsnews.com/tampa/news/pasco-county-schools-eliminates-safe-space-stickers/.
58
     Duval County similarly in August directed the removal from classrooms of all safe space stickers, rainbow flags,
           and other LGBTQ-related items. Emily Bloch, Equality Florida slams Duval Schools for removing ‘Safe
           Space’ rainbow stickers amid ‘rebrand,’ THE FLORIDA TIMES-UNION (Aug. 15, 2022),
           https://www.jacksonville.com/story/news/education/2022/08/15/duval-schools-replace-safe-space-stickers-
           rebrand-no-rainbows/10312688002/.




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son have been denied equal educational opportunities that they want to be made

available in order to foster a non-discriminatory for all families and persons.

Because it is unclear whether H.B. 1557 proscribes safe spaces and other insignia of

LGBTQ support, Washington is being denied the opportunity to display such

materials and create a more welcoming environment, as she wants to do, and her son

and other students in Pasco County are being denied such spaces and symbols of

support.

      82.    In addition, at Washington’s son’s high school, school officials have

removed lines referring to LGBTQ issues from two musicals because of concerns

that their inclusion would violate H.B. 1557. As a result, Washington’s son (and

other LGBTQ students at his school) has been denied equal educational

opportunities that he wants to receive and treated disparately from other students.

Because it is unclear whether H.B. 1557 prohibits references to LGBTQ persons and

issues in musicals, students are being denied exposure to such references, which they

would like to receive.

      83.    In July 2022, Broward County, where Plaintiff Berg teaches

kindergarten, transported at least 100 LGBTQ children’s books to the Stonewall

National Museum & Archives, shortly after it received complaints from the “Moms

for Liberty” group that the books were “inappropriate,” including such LGBTQ-

related titles as Stella Brings the Family, In Our Mothers’ House, and My Princess



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Boy. Those complaints occurred shortly after H.B. 1557 went into effect.59 As a

result, LGBTQ (and other) students have been denied educational opportunities that

Berg and many others in his school want to be made available in order to foster a

non-discriminatory environment for all families and persons. Upon information and

belief, absent H.B. 1557, this discriminatory removal of LGBTQ-related books

would not have occurred. Because it is unclear whether H.B. 1557 proscribes

making LGBTQ children’s books available anywhere in school, students are being

denied access to such books and Berg is being denied the ability to use such books

and foster a more welcoming environment for LGBTQ students.

           84.     Broward County is not alone in removing books due to the new law.

Also after H.B. 1557 went into effect, in Seminole County, the school district pulled

three books featuring gender-nonconforming protagonists from the school and asked

that they be excluded from upcoming book fairs.60 And in Palm Beach County, a

“handful” of books (according to the deputy superintendent and chief of schools)




59
     See Shira Moolten, Broward School District Donated LGBTQ Books Ahead of New Florida Law, SOUTH FLORIDA
           SUN-SENTINEL (July 8, 2022), https://www.sun-sentinel.com/news/education/fl-ne-broward-schools-lgbtq-
           books-20220708-mqbfatmyajgufcfix4mhdtlnwe-story.html.
60
     See Leslie Postal, New Florida laws have school jittery about handling books, ORLANDO SENTINEL (Aug. 29,
           2022), https://www.orlandosentinel.com/news/education/os-ne-florida-law-school-libraries-books-
           20220829-z7hfur4oinhgjfd23jaqfaxzo4-story.html.




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were moved to library sections for older grades in order to comply with the law’s

standards for K-3 students.61

           85.     Also in Palm Beach County, after H.B. 1557 went into effect, one

teacher has altered her lessons about Sally Ride, the first American woman to fly in

space, to omit the fact that Ride was a lesbian because she believed that doing so

would put her at risk of violation or being deemed to have violated H.B. 1557.62

           86.     Consistent with its intent, H.B. 1557 has resulted in changes in behavior

at every level of Florida’s public school systems. While the law provides for liability

to be imposed on school districts alone, school districts are seeking to structure the

behavior of school personnel, students, and everyone else who comes into contact

with the school system so as to avoid litigation. And students, teachers, other school

personnel, and parents, aware of the threat of discipline, are acting accordingly.

           87.     Indeed, the State recently made clear that H.B. 1557 imposes drastic

consequences on teachers for violations. On October 19, 2022, the Board of

Education passed a motion to amend Florida Administrative Code Rule 6A-10.081




61
     See Katherine Kokal, COVID Policies to LGBTQ Law: 8 Things to Know as Palm Beach County Goes Back to
           School, THE PALM BEACH POST (Aug. 1 , 2022),
           https://www.palmbeachpost.com/story/news/education/2022/08/01/covid-lbgtq-law-what-know-palm-
           beach-county-schoolyear-starts/10201919002/.
62
     See Lori Rozsa, Florida Teachers Race to Remake Lessons As DeSantis Laws Take Effect, WASH. POST (July 30,
           2022), https://www.washingtonpost.com/education/2022/07/30/florida-schools-desantis-woke-
           indoctrination/?utm_medium=social&utm_source=twitter&utm_campaign=wp_main.




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to specifically provide that teachers can lose their license if they violate H.B. 1557.63

At the hearing on that proposal, public commenters said, among other things, that “I

believe there should be disciplinary action for any educator who decides to speak on

their sexual orientation.”64 Defendant Christie similarly stated that the proposed rule

was needed to address “children … hearing about sexuality in kindergarten.”65 In

approving the measure, Defendant Gibson stated: “We are simply here to implement

and execute the laws the legislature our elected officials [sic] passed.”66

           88.      Finally, in implementing and executing H.B. 1557, the State has

rejected the notion that LGBTQ persons are entitled to the same protections against

discrimination as their peers. On July 28, 2022, the Commissioner of Education

issued a memorandum directing school districts throughout the State (including

charter school governing boards) to disregard guidance by the United States

Department of Education and the Department of Agriculture (“USDA”) recognizing

that, following the Supreme Court’s decision in Bostock v. Clayton County, 140 S.

Ct. 1731 (2020), Title IX’s prohibition on sex discrimination encompasses


63
     Fla. Dep’t of State, Fla. Admin. Code & Fla. Admin. Reg. Rule 6A-10.081, Proposed 6A-10.081 (Sept. 26, 2022),
           https://www.flrules.org/gateway/ruleNo.asp?id=6A-10.081; The Florida Channel, 10/19/22 State Board of
           Education Meeting, https://thefloridachannel.org/videos/10-19-22-state-board-of-education-meeting/.
64
     Id. at 2:08-23 (Statement of Leslie Kirschenbaum).
65
     Leslie Postal, SOUTH FLORIDA SUN SENTINEL, Florida teachers could lose licenses for defying ‘don’t say gay,’
            ‘anti-woke’ laws (Oct. 19, 2022), https://www.sun-sentinel.com/news/education/os-ne-state-board-
            educator-rules-20221019-fpqkpy6hdndezi6fhanofmpq4q-story.html.
66
     Libbey Dean, News Channel 8, Florida school board approves controversial rules in compliance with Parental
           Rights in Education law (Oct. 19, 2022), https://www.wfla.com/news/politics/florida-school-board-
           approves-controversial-rules-in-compliance-with-parental-rights-in-education-law/.




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discrimination based on sexual orientation and gender identity.67 Among other

things, the memorandum instructs schools to disregard the USDA’s instruction to

prominently display an “And Justice for All” poster, which prohibits discrimination

on the basis of sexual orientation and gender identity, because doing so “may create

a conflict with Florida law.”68

           89.      Although the State has claimed that memorandum does not concern

H.B. 1557 and is referring to Florida law that “regulates sports teams designed for

women,” State Defs.’ Reply in Support of Mot. to Dismiss, ECF No. 105 at 8 n.4,

the State has never explained how a blanket directive to disregard Title IX and a

prohibition on merely displaying anti-discrimination messaging in a place where it

can be readily viewed violates a state law concerning participation of transgender

students in sports. Drawing all reasonable inferences in Plaintiffs’ favor, the State’s

broad rejection of LGBTQ anti-discrimination in public schools—issued shortly

after H.B. 1557 went into effect—is causally tied to the law’s proscription. And as

a result of such a policy, LGBTQ persons in public schools will be denied

educational opportunities and benefits and treated disparately from others. In other

words, because it is unclear whether H.B. 1557 proscribes LGBTQ anti-

discrimination in Florida’s public schools, LGBTQ students, teachers, and parents


67
     See Notice of Supp. Auth. in Opp. to Defs.’ Mots. to Dismiss, ECF No. 95, Ex. A (filed Aug. 2, 2022).
68
     See also U.S. Dep’t of Agriculture, Food and Nutrition Service, “And Justice for All Posters (Guidance and
            Translations), https://www.fns.usda.gov/cr/and-justice-all-posters-guidance-and-translations.




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are being denied such protections, which they obviously wish (and are entitled) to

receive.

           90.      H.B. 1557 is especially pernicious because it harms a disfavored group

that already faces heightened discrimination and heightened mental and physical

risks. As President Biden recognized in condemning the law, H.B. 1557 is “designed

to target and attack the kids who need support the most—LGBTQI+ students, who

are already vulnerable to bullying and violence just for being themselves.”69

           91.      The Trevor Project’s 2021 National Survey on LGBTQ Youth Mental

Health found that 42% of LGBTQ youth seriously considered attempting suicide in

the last year. 72% of respondents reported symptoms of generalized anxiety disorder

in the last two years. 62% reported symptoms of major depressive disorder in the

last two weeks. And nearly half wanted counseling from mental health professionals

but did not receive it.70

           92.      With respect to Florida schools specifically, the Gay, Lesbian and

Straight Education Network’s (“GLSEN”) 2019 National School Climate Survey



69
     Anthony Izaguirre, White House denounces Florida GOP over ‘Don’t Say Gay’ bill, ASSOCIATED PRESS (Feb. 8,
          2022), https://apnews.com/article/education-florida-73ffe14f403d95e0cc09f2804d0d9ffe. The American
          Academy of Child and Adolescent Psychiatry has likewise asserted that H.B. 1557 “blocks teachers and
          educators from talking about LGBTQ+ issues and undermines existing protections for LGBTQ+ youth and
          families in schools.” American Academy of Child & Adolescent Psychiatry, Florida’s ‘Don’t Say Gay or
          Trans’ Law Stigmatizes LGBTQ+ Youth and Families (Mar. 18, 2022),
          https://www.aacap.org/AACAP/zLatest_News/Floridas_Dont_Say_Gay_or_Trans_Law_Stigmatizes_LGB
          TQ_Youth_Families.aspx.
70
     National Survey on LGBTQ Youth Mental Health 2021, THE TREVOR PROJECT,
           https://www.thetrevorproject.org/survey-2021/?section=Introduction (last visited May 24, 20022).




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found that the school climate in Florida is “not safe” for most LGBTQ secondary

school students, even before enactment of H.B. 1557.71 94% of respondents heard

students use “gay” in a negative way, 80% heard other homophobic remarks (e.g.,

“fag”) or negative remarks about gender expression, and 72% heard negative

remarks about transgender people. Roughly 10% of respondents were victims of

physical assault based on their sexual orientation or gender expression, and only

28% of LGBTQ students who reported incidents of verbal or physical harassment or

assault said it resulted in effective staff intervention.

           93.     Students also described an environment of disparate treatment, where

31% were disciplined for public displays of affection that did not result in similar

action for non-LGBTQ students, and 57% of transgender students were unable to

use the bathroom aligned with their gender. Just 9% of students reported attending

a school with a comprehensive anti-bullying and harassment policy that included

specific protections based on sexual orientation and gender identity and expression,

15% were taught positive representations of LGBTQ people, history, or events, and

only a mere 3% reported receiving LGBTQ-inclusive sex education at school.

           94.     Similarly, the Youth Risk Behavior Survey—which is conducted by the

CDC and managed by the Florida Department of Education to monitor priority



71
     2019 State Snapshot: School Climate for LGBTQ Students in Florida, GLSEN (2021),
           https://www.glsen.org/sites/default/files/2021-01/Florida-Snapshot-2019.pdf.




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health-risk behaviors that contribute substantially to the leading causes of death,

disability, and social problems among youth72—found that for the first time since

sexual orientation was added in 2013, there has been an increase in LGBTQ youth

seriously considering suicide. There was no corresponding shift among heterosexual

and cisgender peers.73

           95.      Ample research in neuroscience, social science, and education has

demonstrated that threats based on social identity affect the health and education of

students. Put simply, making children feel unsafe causes lasting damage to their

physical health, brain development, and learning. And that is precisely why school

districts have responded with the kinds of affirming and accepting measures—

measures that are essential to creating a non-discriminatory school environment and

that H.B. 1557 is designed to stamp out.

           96.      LGBTQ students who are taught a non-discriminatory curriculum are

less likely to hear homophobic remarks or remarks about gender expressions. They

perform better academically and are more likely to pursue post-secondary education.



72
     On April 20, 2022, the Florida Department of Education ended its decades-long participation in the Youth Risk
          Behavior Survey, which means that Florida will no longer be collecting data necessary to understand and
          support adolescent health in Florida, including data that will determine the impact H.B. 1557 and other
          anti-LGBTQ laws and policies will have on Florida’s youth. See Evie Blad, Some States Back Away Form
          a Major Student Well-Being Survey. Why, and What it Could Mean, EDUCATION WEEK (May 5, 2022),
          https://www.edweek.org/leadership/some-states-back-away-from-a-major-student-well-being-survey-why-
          and-what-it-could-mean/2022/05.
73
     Youth Risk Behavior Survey: Data Summary & Trends Report 2009-2019, at 98 CENTERS FOR DISEASE CONTROL
           AND PREVENTION (2019)
           https://www.cdc.gov/healthyyouth/data/yrbs/pdf/YRBSDataSummaryTrendsReport2019-508.pdf.




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They are also significantly more likely to have classmates who are somewhat or very

accepting of LGBTQ people.74

           97.      Having a supportive and non-discriminatory school environment is also

tied to better mental health. LGBTQ youth who have the benefit of a trusted adult

at their school have higher levels of self-esteem.75 And anti-bullying policies that

are specifically protective of LGBTQ students are tied to reduced bullying of

LGBTQ students, as well as decreases in depressive symptoms and less

psychological distress; this is also true for the presence of GSAs.76 Moreover,

respecting transgender and non-binary youth by using the pronouns that correspond

to their identities, just as teachers do for other youth, is also associated with lower

rates of attempted suicide.77

           98.      In short, LGBTQ students with inclusive educational environments

receive a more equal and fair education; they are less likely to suffer discrimination,

stigma, and harm; and they are more likely to report positive health outcomes. H.B.

1557 stigmatizes and marks as “lesser” LGBTQ students—a serious injury in itself.



74
     Joseph G. Kosciw et al., The 2019 National School Climate Survey: The Experiences of Lesbian, Gay, Bisexual,
           Transgender, and Queer Youth in Our Nation’s Schools, GLSEN (2020), at p. xxiii,
           https://www.glsen.org/sites/default/files/2021-04/NSCS19-FullReport-032421-Web_0.pdf.
75
     Adrienne B. Dessel et al., The importance of teacher support: Differential impacts by gender and sexuality, 56 J.
           OF ADOLESCENCE 136 (2019).
76
     Jack Day et al., Gay-Straight Alliances, Inclusive Policy, and School Climate: LGBTQ Youths’ Experiences of
           Social Support and Bullying, 30 J. OF RSCH. ON ADOLESCENCE 418 (2019).
77
     National Survey on LGBTQ Youth Mental Health 2021, THE TREVOR PROJECT,
           https://www.thetrevorproject.org/survey-2021/?section=Introduction (last visited May 24, 2022).




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It also creates and exacerbates environments where LGBTQ students are more likely

to do poorly in school, experience bullying and harassment, and suffer higher risks

to their mental and physical health. Research has shown that in states with laws

widely known as “No Promo Homo” laws, like H.B. 1557, students were more likely

to hear homophobic remarks from school personnel, staff were far less effective in

handling reported incidents of harassment or assault, and schools were less likely to

have LGBTQ-related resources (such as comprehensive harassment policies,

supportive school personnel, and Gay-Straight Alliances).78

                                          CAUSES OF ACTION

                                                    COUNT I

              Due Process Clause of the Fourteenth Amendment
                  to the United States Constitution: Vagueness
 (Brought pursuant to 42 U.S.C. § 1983 by all Plaintiffs against Defendants Grady,
    Gibson, Brown, Byrd, Christie, Petty, York, Broward County School Board,
  School Board of Manatee County, School Board of Miami-Dade County, Orange
             County School Board, and Pasco County School Board)

           99.      Plaintiffs incorporate by reference paragraphs 1-15, 17, 19-23, 32-37,

53-63, and 70-98 as though fully set forth herein.

           100. A law is “void for vagueness if its prohibitions are not clearly defined.”

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). These requirements have




78
     Joseph G. Kosciw et al., The 2019 National School Climate Survey: The Experiences of Lesbian, Gay, Bisexual,
           Transgender, and Queer Youth in Our Nation’s Schools, GLSEN (2020),
           https://www.glsen.org/sites/default/files/2021-04/NSCS19-FullReport-032421-Web_0.pdf.




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particular weight when the law threatens to impinge on First Amendment rights. See

Smith v. Goguen, 415 U.S. 566, 573 (1974).

      101. H.B. 1557 is void for vagueness and thereby violates Plaintiffs’

Fourteenth Amendment rights facially and as applied by Defendants.

      102. H.B. 1557 prohibits “[c]lassroom instruction” by “third parties” on

“sexual orientation” and “gender identity” in K-3, and otherwise in any context

where it is not “age-appropriate” and “developmentally appropriate” in accordance

with unspecified “state standards” that may go into effect long after the law does.

These key terms are all ambiguous and undefined. The vagueness of these terms has

a chilling effect on the behavior and speech of students, teachers, and parents,

including Plaintiffs, as well as other school personnel, because they are unable to

determine what the law does and does not prohibit; they are uncertain about what

they are legally able to say and do in school; and they hesitate to speak or participate

in school out of fear of violating the law and facing discipline.

      103. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs have suffered and will continue to suffer irreparable injury, including

violations of their rights under the Fourteenth Amendment to due process.




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                                    COUNT II

           Equal Protection Clause of the Fourteenth Amendment
              to the United States Constitution: Discrimination
(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., S.S., Casares, Feinberg,
   Morrison, Houry, Berg, and Washington against Defendants Grady, Gibson,
Brown, Byrd, Christie, Petty, York, Broward County School Board, School Board
  of Manatee County, School Board of Miami-Dade County, and Pasco County
                                 School Board)

      104. Plaintiffs incorporate by reference paragraphs 1-12, 14-15, 17, 19-21,

and 23-98 as though fully set forth herein.

      105. The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution provides: “No State shall … deny to any person within

its jurisdiction the equal protection of the laws.” U.S. CONST. amend. XIV, § 1.

      106. Defendants have deprived Plaintiffs of the rights, privileges, or

immunities secured by the Equal Protection Clause because Defendants, without

sufficient justification, have treated Plaintiffs differently from other similarly

situated persons based on their sex, sexual orientation, gender, gender identity, and

transgender status.

      107. H.B. 1557 was enacted with a discriminatory purpose and results in

discriminatory and disparate treatment of LGBTQ people, and thus violates the

Fourteenth Amendment rights of Plaintiffs facially and as applied by Defendants.




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      108. H.B. 1557 disparately harms LGBTQ students, teachers, and parents,

including Plaintiffs, and denies them educational opportunities and the right to

participate in education on the basis of their LGBTQ orientation or identity.

      109. In addition, as to Plaintiffs Casares and Feinberg, Morrison and Houry,

and Berg, H.B. 1557 violates the equal protection right to marry on the “same terms

and conditions as opposite-sex couples.” Obergefell, 576 U.S. at 676; see also id. at

667 (“A third basis for protecting the right to marry is that it safeguards children and

families and thus draws meaning from related rights of childrearing, procreation, and

education.”); Pavan v. Smith, 137 S. Ct. 2075, 2078 (2017). The purpose and effect

of H.B. 1557 is that LGBTQ married couples will be treated differently and worse

than non-LGBTQ married couples in important aspects of their interactions with

Florida’s public schools, and that the children of LGBTQ married couples will

similarly suffer discrimination and disadvantage in Florida’s public schools as

compared to all other children.

      110. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., S.S., Casares, Feinberg, Morrison, Houry, Berg, and the children of

Casares, Feinberg, Morrison, Houry, and Washington have already suffered and will

continue to suffer irreparable injury, including violations of their Fourteenth

Amendment rights to equal protection of the laws.




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                                    COUNT III

           Equal Protection Clause of the Fourteenth Amendment
       to the United States Constitution: Discriminatory Enforcement
(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., S.S., Casares, Feinberg,
   Morrison, Houry, Berg, and Washington against Defendants Grady, Gibson,
Brown, Byrd, Christie, Petty, York, Broward County School Board, School Board
  of Manatee County, School Board of Miami-Dade County, and Pasco County
                                 School Board)

      111. Plaintiffs incorporate by reference paragraphs 1-12, 14-15, 17, 19-21,

and 23-98 as though fully set forth herein.

      112. The Equal Protection Clause of the Fourteenth Amendment prohibits

state actors from engaging in discriminatory or selective enforcement of facially

neutral laws.

      113. Defendants have deprived Plaintiffs M.A., S.S., Casares, Feinberg,

Morrison, Houry, Berg, and the children of Casares, Feinberg, Morrison, Houry, and

Washington of the rights, privileges, or immunities secured by the Equal Protection

Clause by selectively enforcing H.B. 1557 against them based a discriminatory

purpose, while failing to enforce H.B. 1557 against other similarly situated

individuals.

      114. Specifically, although H.B. 1557 purports to be a neutral law restricting

classroom instruction on all sexual orientations and gender identities, Defendants

have deliberately and unlawfully applied H.B. 1557 solely to restrict discussion of

and instruction on LGBTQ sexual orientations, gender identities, and issues and




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solely to prohibit LGBTQ-related activities, while failing to restrict discussion and

instruction of non-LGBTQ sexual orientations, gender identities, and issues, and

failing to prohibit non-LGBTQ-related activities.

      115. Defendants have selectively applied H.B. 1557 against Plaintiffs M.A.,

S.S., Casares, Feinberg, Morrison, Houry, Berg, and the children of Casares,

Feinberg, Morrison, Houry, and Washington based on a discriminatory purpose: not

in spite of, but expressly because they are LGBTQ, wish to discuss LGBTQ-related

issues, or wish to engage in LGBTQ-related activities. Indeed, such discriminatory

enforcement was the Legislature’s intent in enacting H.B. 1557, as reflected in

numerous statements in the legislative record.

      116. By contrast, individuals who are similarly situated to such Plaintiffs

have been treated differently. Despite being similar in all material respects, they

have not been subjected to the same discriminatory treatment.

      117. For example, due to discriminatory and selective enforcement of H.B.

1557, students have been unable to participate in LGBTQ-related student clubs;

books featuring LGBTQ-related protagonists have been removed from school

libraries; students have been discouraged from pursuing LGBTQ-related research

projects; and students have been prohibited from dancing with others of the same

gender. At the same time, Defendants have taken no such action to bar non-LGBTQ-

related student clubs, remove non-LGBTQ-related books from libraries, discourage



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non-LGBTQ-related research projects, or prohibit students from dancing with others

of a different gender.

      118. As a direct and proximate result of Defendants’ unlawful

discriminatory and selective enforcement of H.B. 1557, Plaintiffs M.A., S.S.,

Casares, Feinberg, Morrison, Houry, Berg, and the children of Casares, Feinberg,

Morrison, Houry, and Washington have already suffered and will continue to suffer

irreparable injury, including violations of their Fourteenth Amendment rights to

equal protection of the laws.

                                    COUNT IV

             First Amendment to the United States Constitution:
                         Right to Receive Information
(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., S.S., Morrison, Houry,
 Casares, Feinberg, Volmer, and Washington against Defendants Grady, Gibson,
  Brown, Byrd, Christie, Petty, York, School Board of Manatee County, School
Board of Miami-Dade County, Orange County, and Pasco County School Board)

      119. Plaintiffs incorporate by reference paragraphs 1-13, 15, 17, and 20-98

as though fully set forth herein.

      120. The First Amendment to the United States Constitution provides:

“Congress shall make no law … abridging the freedom of speech.” U.S. CONST.,

amend. I. The First Amendment applies to the State of Florida pursuant to the

incorporation doctrine of the Fourteenth Amendment.

      121. The First Amendment protects “the right to receive information and

ideas.” Pico, 457 U.S. at 867. Laws regarding school curricula and instruction



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violate students’ First Amendment rights to receive information and ideas where

they are not “reasonably related to legitimate pedagogical concerns,” Hazelwood

Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 273 (1988), or where officials exercise their

discretion over curricular decisions “in a narrowly partisan or political manner,”

Pico, 457 U.S. at 870.

      122. H.B. 1557 violates the First Amendment right to receive information

and ideas of Plaintiffs M.A., S.S., and the children of Morrison, Houry, Casares,

Feinberg, Volmer, and Washington facially and as applied by Defendants. More

specifically, the law violates their right to receive and debate information and ideas

concerning the sexual orientation and gender identity of LGBTQ people, even when

such information serves essential pedagogical purposes.

      123. H.B. 1557’s restrictions on students’ rights to receive information and

ideas concerning sexual orientation and gender identity are unrelated to legitimate

pedagogical concerns, and serve no other legitimate state purpose. Instead, H.B.

1557 is rooted in animus against LGBTQ individuals, as demonstrated by the public

record and by its enforcement to bar only discussion and recognition of LGBTQ

people and issues, while imposing no restrictions on the discussion of heterosexual

and non-transgender people and issues. H.B. 1557 is also the result of partisan or

political decision-making.




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         124. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., S.S., and the children of Morrison, Houry, Casares, Feinberg,

Volmer, and Washington have suffered and will continue to suffer irreparable injury,

including violations of their First Amendment rights to receive information and

ideas.

                                      COUNT V

             First Amendment to the United States Constitution:
                       Right to Freedom of Expression
(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., S.S., Morrison, Houry,
 Casares, Feinberg, Volmer, and Washington against Defendants Grady, Gibson,
  Brown, Byrd, Christie, Petty, York, School Board of Manatee County, School
Board of Miami-Dade County, Orange County, and Pasco County School Board)

         125. Plaintiffs incorporate by reference paragraphs 1-13, 15, 17, and 20-98

and 28-109 as though fully set forth herein.

         126. “[S]tudents do not ‘shed their constitutional rights of freedom to speech

or expression,’ even ‘at the school house gate.’” Mahanoy, 141 S. Ct. at 2044

(quoting Tinker, 393 U.S. at 506). Thus, student speech is presumptively protected

unless it “materially disrupts classwork or involves substantial disorder or invasion

of the rights of others.” Id. at 2045 (quoting Tinker, 393 U.S. at 513).

         127. Likewise, laws regulating students’ speech violate their First

Amendment rights where such laws are not “reasonably related to legitimate

pedagogical concerns.” Kuhlmeier, 484 U.S at 273.




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      128. H.B. 1557 violates the First Amendment right to freedom of expression

of students, including Plaintiffs M.A., S.S., and the children of Morrison, Houry,

Casares, Feinberg, Volmer, and Washington. More specifically, the law restricts

Plaintiffs’ ability to discuss topics related to the sexual orientation and gender

identity of LGBTQ people in class and related settings, and also restricts their ability

to self-identify as LGBTQ.

      129. H.B. 1557’s restrictions on students’ rights to free expression

concerning the sexual orientation and gender identity of LGBTQ people are not

justified by preventing disruption to the school environment, are unrelated to

legitimate pedagogical concerns, and serve no other legitimate state purposes.

Instead, the law is rooted in animus against LGBTQ individuals, as demonstrated by

the public record and by its enforcement to bar only discussion and recognition of

LGBTQ people and issues, while imposing no restrictions on the discussion of

heterosexual and non-transgender people and issues.

      130. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., S.S., and the children of Morrison, Houry, Casares, Feinberg,

Volmer, and Washington have suffered and will continue to suffer irreparable injury,

including violations of their First Amendment right to freedom of expression.




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                                     COUNT VI

             First Amendment to the United States Constitution:
                                 Overbreadth
(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., S.S., Morrison, Houry,
 Casares, Feinberg, Volmer, and Washington against Defendants Grady, Gibson,
  Brown, Byrd, Christie, Petty, York, School Board of Manatee County, School
Board of Miami-Dade County, Orange County, and Pasco County School Board)

      131. Plaintiffs incorporate by reference paragraphs 1-13, 15, 17, and 20-98

and 28-109 as though fully set forth herein.

      132. A “law may be invalidated as overbroad if ‘a substantial number of its

applications are unconstitutional, judged in relation to the statute’s plainly legitimate

sweep.’” United States v. Stevens, 559 U.S. 460, 473 (2010) (quoting Wash. State

Grange v. Wash. State Republican Party, 552 U.S. 442, 449 n.6 (2008)).

      133. H.B. 1557 is overbroad in violation of the First Amendment rights of

Plaintiffs M.A., S.S., and the children of Morrison, Houry, Casares, Feinberg,

Volmer, and Washington facially and as applied by Defendants, because even to the

extent that the law could be interpreted as having any legitimate pedagogical

purpose, “a substantial number of its applications are unconstitutional.” Id. More

specifically, even if H.B. 1557 has some legitimate pedagogical purpose, it is not

narrowly tailored to that purpose but rather will be applied in a manner that broadly

infringes Plaintiffs M.A., S.S., and the children of Morrison, Houry, Casares,

Feinberg, Volmer, and Washington’s First Amendment rights to receive information

and ideas, and their right to freedom of expression.



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      134. H.B. 1557’s overbroad restrictions are not justified by preventing

disruption to the school environment, are unrelated to legitimate pedagogical

concerns, and serve no other legitimate state purposes. Instead, the law is rooted in

animus against LGBTQ individuals, as demonstrated by the public record, as well

as by partisan or political reasons.

      135. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., S.S., and the children of Morrison, Houry, Casares, Feinberg,

Volmer, and Washington have suffered and will continue to suffer irreparable injury,

including violations of their First Amendment rights.

                                       COUNT VII

 Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688:
                         Discrimination Based on Sex
  (By Plaintiffs M.A., S.S., Morrison, Houry, Casares, Feinberg, Volmer, and
Washington against Defendants State Board of Education and Florida Department
                                 of Education)

      136. Plaintiffs incorporate by reference paragraphs 1-13, 15-16, 18, and 24-

98 as though fully set forth herein.

      137. Defendants State Board of Education and Florida Department of

Education are recipients of federal financial assistance.

      138. The acts and omissions of Defendants have violated Plaintiffs M.A.,

S.S., and the children of Morrison, Houry, Casares, Feinberg, Volmer, and




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Washington’s rights under Title IX by discriminating against them on the basis of

sex, which includes sexual orientation and gender identity.

      139. More specifically, H.B. 1557 results in the disparate treatment of

students in Florida’s public education system on the basis of sex, because they are

excluded from the participation in, denied the benefits of, and/or discriminated in

education. By implementing and enforcing H.B. 1557, Defendants State Board of

Education and Florida Department of Education are intentionally and/or with

deliberate indifference engaging in such discrimination.

      140. Indeed, the State has explicitly instructed Florida schools to disregard

federal regulatory guidance that Title IX’s prohibition on discrimination on the basis

of “sex” includes discrimination on the basis of sexual orientation and gender

identity. That instruction, which was given not one month after H.B. 1557 went into

effect, reflects a direct challenge to Title IX’s anti-discrimination provision and is

preempted by federal law. See 34 C.F.R. § 106.6(h).

      141. As a direct and proximate result of Defendants State Board of

Education and Florida Department of Education’s unlawful conduct, Plaintiffs M.A.,

S.S., and the children of Morrison, Houry, Casares, Feinberg, Volmer, and

Washington have suffered and will continue to suffer irreparable injury, including

violations of their First Amendment rights.




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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that the Court enter judgment

in their favor and against Defendants, and request an award of the following relief:

      142. A declaratory judgment that H.B. 1557 and the actions described herein

deprive Plaintiffs of their rights under the United States Constitution, including the

First and Fourteenth Amendments thereto, and applicable federal statutory law,

including 42 U.S.C. § 1983;

      143. Permanent injunctive relief enjoining Defendants from implementing

and enforcing H.B. 1557 in violation of the rights guaranteed to Plaintiffs by the

United States Constitution and applicable federal statutory law;

      144. An award of Plaintiffs’ costs of suit and reasonable attorneys’ fees,

expenses, and costs under 42 U.S.C. § 1988 and other applicable laws; and

      145. Such other relief as the Court deems necessary, just, and proper.




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Dated: New York, New York            Respectfully submitted,
       October 27, 2022



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